                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES DEL CONTE,                :
                                :
           Plaintiff,           :
                                :
      vs.                       :
                                :
BOROUGH OF AMBLER, BRUCE JONES:
and AFSCME, DISTRICT COUNCIL 88 :
LOCAL 317-M                     :
                                :
           Defendants.          :

                                       NOTICE TO PLAINTIFF

         PLEASE TAKE NOTICE that on November 29, 2005, Defendants, Borough of Ambler and

Bruce Jones, by and through their undersigned counsel, Deasey, Mahoney & Bender, Ltd., have filed a

Notice in the United States District Court for the Eastern District of Pennsylvania for the removal of this

action, now pending in the Court of Common Pleas of Montgomery County, Pennsylvania, entitled

James DelConte v. Borough of Ambler, et. al., CCP Mongtomery County, Docket No. 05-25154.

         A copy of said Notice of Removal is attached to this Notice and is hereby served upon you.

                                              DEASEY MAHONEY & BENDER, LTD.


                                              By /s/ CM853
                                                    CARLA P. MARESCA
                                                    Attorneys for Defendants

Dated:
                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES DEL CONTE,                                      :
                                                      :
                Plaintiff,                            :
                                                      :
         vs.                                          :
                                                      :
BOROUGH OF AMBLER, BRUCE JONES                        :
and AFSCME, DISTRICT COUNCIL 88                       :
LOCAL 317-M                                           :
                                                      :
                Defendants.                           :

                                      PETITION FOR REMOVAL

         Defendants by their undersigned counsel, Deasey, Mahoney & Bender, Ltd., hereby petition this

Court as follows, pursuant to 28 U.S.C. §1332 et seq.:

         1.     Plaintiff filed a civil action complaint against the above-referenced defendants on or

about November 16, 2005. See Civil Action Complaint attached hereto as Exhibit “A”.

         2.     The subject matter of the lawsuit involves the First Amendment of the United States

Constitution and 28 U.S.C. Section 1983. See Exhibit “A”.

         3.     Pursuant to 28 U.S.C. §1331, the federal district courts have subject matter jurisdiction

over the above-referenced matter.

         WHEREFORE, the Petitioner prays that the State Court Action be removed from the

Pennsylvania Court of Common Pleas for Montgomery County to this United States District Court for

the Eastern District of Pennsylvania for proper and just determination.

                                              DEASEY MAHONEY & BENDER, LTD.


Dated:                                        By /s/ CM853
                                                    CARLA P. MARESCA
                                                    Attorneys for Defendants
                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES DEL CONTE,                                       :
                                                       :
                Plaintiff,                             :
                                                       :
         vs.                                           :
                                                       :
BOROUGH OF AMBLER, BRUCE JONES                         :
and AFSCME, DISTRICT COUNCIL 88                        :
LOCAL 317-M                                            :
                                                       :
                Defendants.                            :

                                      CERTIFICATE OF SERVICE

         I hereby certify that I served a true and correct copy of the Petition for Removal to counsel listed

below via United States First Class Mail, postage prepaid:

                                        David P. Bateman, Esquire
                                      BATEMAN CALIENDO LLC
                                           420A Dresher Road
                                          Horsham, PA 19044




Dated:                                         By /s/ CM853
                                                     CARLA P. MARESCA
                                                     Attorneys for Defendants
